      Case 4:19-cv-00300-MW-MJF Document 8 Filed 07/02/19 Page 1 of 2




             UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION


KELVIN LEON JONES, et al.,
            Plaintiffs,
v.                                            Case No. 4:19cv300-MW/CAS
RON DESANTIS, in his
official capacity as Governor
of the State of Florida, et al.,

             Defendants.
__________________________/
         ORDER SETTING TELEPHONIC STATUS HEARING
      This is a consolidated action in which Plaintiffs challenge the

constitutionality of portions of S.B. 7066. While no motions have been filed,

Plaintiffs seek a temporary, preliminary, and permanent injunction against

Defendants. A district court “may issue a preliminary injunction only on notice

to the adverse party.” Fed. R. Civ. P. 65(a)(1). The notice requirement “implies

a hearing in which the defendant is given a fair opportunity to oppose the

application and to prepare such opposition.” Granny Goose Foods, Inc. v.

Teamsters, 415 U.S. 423, 434 n.7 (1974); see also Fed. R. Civ. P. 65(a)(2)

(recognizing hearing requirement). In short, this Court must hold a hearing on

an expedited basis. Accordingly, the Clerk is directed to set a telephonic status




                                       1
      Case 4:19-cv-00300-MW-MJF Document 8 Filed 07/02/19 Page 2 of 2



hearing on Friday, July 5, 2019.
     SO ORDERED on July 2, 2019.
                                   s/Mark E. Walker               ____
                                   Chief United States District Judge




                                     2
